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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
LYNNETTE TATUM-RIOS, Individually                ECF CASE
and on behalf of all other persons similarly
situated,
                                                 No.: ____________________
                Plaintiff,
                                                 CLASS ACTION COMPLAINT
       v.
                                                 JURY TRIAL DEMANDED
SKINNYTOPICAL LLC, d/b/a SKINNEY
MED SPA

                Defendant.


                                     INTRODUCTION

       1.       Plaintiff Lynnette Tatum-Rios, who is legally blind, brings this civil rights

action against Defendant SkinnyTopical LLC d/b/a Skinney Med Spa (“Defendant”) for

its   failure   to     design,   construct,     maintain,   and    operate    its   website,

https://www.skinneymedspa.com/ (the “Website”), to be fully accessible to and

independently usable by Plaintiff Tatum-Rios and other blind or visually-impaired

people. Defendant denies full and equal access to its Website.

       2.       Plaintiff Tatum-Rios, individually and on behalf of others similarly

situated, asserts claims under the Americans With Disabilities Act (“ADA”), New York

State Human Rights Law (“NYSHRL”), and New York City Human Rights Law

(“NYCHRL”) against Defendant.

       3.       Plaintiff Tatum-Rios seeks a permanent injunction to cause Defendant to

change its corporate policies, practices, and procedures so that its Website will become

and remain accessible to blind and visually-impaired consumers.




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                                       THE PARTIES

        4.      Plaintiff Tatum-Rios is, at all relevant times, a resident of New York, New

York County. As a blind, visually-impaired handicapped person, she is a member of a

protected class of individuals under Title III of the ADA, under 42 U.S.C. § 12102(1)-(2),

and the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the

NYSHRL and NYCHRL.

        5.      Upon information and belief, Defendant is at all relevant times a domestic

limited liability company that is organized under New York law and is authorized to do

business in the State of New York. Defendant does business in the State by marketing to

and shipping its products to consumers located within the State.

                              JURISDICTION AND VENUE

        6.      This Court has subject-matter jurisdiction over this action under 28 U.S.C.

§ 1331 and 42 U.S.C. § 12181, as Plaintiff Tatum-Rios’ claims arise under Title III of the

ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.

        7.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

Plaintiff Tatum-Rios’ NYSHRL, N.Y. Exec. Law Article 15, and NYCHRL, N.Y.C.

Admin. Code § 8-101 et seq., claims.

        8.      Venue is proper in this District under 28 U.S.C. §§1391(b)(1), 1391(c)(2)

because jurisdiction exists over it: it has a continuous and systematic course of doing

business in this District, as it operates multiple locations in this District, rents property in

this District, employs individuals in this District, is registered to do business here, pays

taxes in this District; and it is purposely and intentionally availing itself of the privileges

of conducting business in this District.



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          9.       This Court is empowered to issue a declaratory judgment under 28 U.S.C.

§§ 2201 and 2202.

                                    NATURE OF ACTION

          10.      The COVID-19 pandemic has shifted the world into an almost entirely

online model. Restaurants need a website for customers to place pick-up and delivery

orders.        Entertainment venues are delivering performances to audiences via their

Websites or other online streaming services. Our educational institutions, including

private schools and Universities have shifted to a virtual classroom with distance-learning

being the new normal. Furthermore, with store closures or capacity limitations, clinics

are relying on their Websites to serve as the fundamental point of contact between their

business and consumers. In order for blind and visually impaired consumers to access

these Websites, they must use screen reading software.

          11.      Blind and visually impaired users of Windows operating system-enabled

computers and devices have several screen-reading software programs available to them.

Some of these programs are available for purchase and other programs are available

without the user having to purchase the program separately. Job Access With Speech

(“JAWS”) is currently the most popular, separately purchased and downloaded screen-

reading software program available for a Windows computer.

          12.      For screen-reading software to function, the information on a website must

be capable of being rendered into text. If the website content is not capable of being

rendered into text, the blind or visually impaired user is unable to access the same content

available to sighted users.




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        13.     The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.1 Levels A

and AA of the Web Content Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are

well-established guidelines for making websites accessible to blind and visually impaired

people. These guidelines are universally followed by most large business entities and

government agencies to ensure its websites are accessible.

        14.     For a website to be equally accessible to a blind or visually impaired

person, under these guidelines, it should have following:

                a.      Alternative text (“alt-text”) or text equivalent for every non-text

element. Alt-text is an invisible code embedded beneath a graphical image on a website.

Web accessibility requires that alt-text be coded with each picture so that screen-reading

software can speak the alt-text where a sighted user sees pictures, which includes captcha

prompts. Alt-text does not change the visual presentation, but instead a text box shows

when the mouse moves over the picture. The lack of alt-text on these graphics prevents

screen readers from accurately vocalizing a description of the graphics, depriving that

person from knowing what is on the website.

                b.      Videos have audio description.

                c.      Title frames with text are provided. Absent these titles, navigating

a website is particularly difficult.

                d.      Webpage headings are properly labeled with the topic or purpose

of the webpage, versus being blank. Screen readers read out page headings, allowing

users to quickly skip to a section. Navigation is, however, very difficult without those

headings.



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                e.     Equivalent text is provided when using scripts.

                f.     Forms may be completed with the same information and

functionality as for sighted persons. Absent forms being properly labeled, it is difficult

for a visually impaired or blind individual to complete the forms, as they do not know

what the fields, how to input data, or what options to select (e.g., selecting a date or a

size). A compliant website will, instead, provide labels or instructions when content

requires user input. This includes captcha prompts, requiring the user to verity that he or

she is not a robot.

                g.     Information about the meaning and structure of content is

conveyed by more than the visual presentation of content.

                h.     Web pages do not share the same ID or title. When two or more

elements on a web page share the same ID or title, it cause problems in screen readers

which use IDs for labeling controls and table headings.

                i.     Linked images must contain alt-text explaining the image. Absent

that alt-text, a screen reader has no content to present the user as to what the image is.

                j.     The purpose of each link is easily determined from how the link is

labeled. Absent properly labeling each link or when no description exists, it confuses

keyboard and screen-reader users as they do not know the purpose of the links. This

includes captcha prompts.

                k.     No redundant links where adjacent links go to the same URL

address. When redundant links exist, it causes additional navigation and repetition for

keyboard and screen-reader users.




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               l.       Portable Document Formats (PDFs) are accessible. When they are

inaccessible, the visually impaired or blind individual cannot learn what information is on

them.

               m.       One or more keyboard operable user interface has a mode of

operation where the keyboard focus indicator is discernible.

               n.       Changing the setting of a user interface component does not

automatically cause a change of content where the user has not been advised before using

the component.

               o.       The name and role of all user interface elements can be

programmatically determined; items that can be set by the user can be programmatically

set; and/or notification of changes to these items are available to user agents, including

assistive technology.

                                STATEMENT OF FACTS

Defendant, Its Website And Its Website’s Barriers

        15.    Defendant is a medical spa that specializes in skincare treatments and

body countering. Defendant operates three New York locations. Through the Website,

customers can schedule consultations at Defendant’s three New York locations or its

Florida and Texas locations for skincare treatments, including skin tightening, cellulite

reduction, stretch mark treatment, laser hair removal, skin resurfacing, Botox treatment,

facials, and much more. Customers can also purchase skincare products on the Website.

        16.    The Website is a commercial marketplace. Customers can book in-person

consultations for Defendant’s skincare treatments at its New York, Texas, and Florida

locations. Through the Website, customers can learn about Defendant’s skincare



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treatments and skincare products, purchase the products, schedule in-person consultations

for Defendant’s skincare treatments, get address information for Defendant’s locations,

look at reviews, obtain access to Defendant’s intake forms, and get answers to frequently

asked questions. It is also where potential customers can learn about the Defendant’s

company, its mission, and its warranty and return policy.

       17.     It is, upon information and belief, Defendant’s policy and practice to deny

Plaintiff Tatum-Rios and other blind or visually-impaired users access to its Website,

thereby denying the facilities and services that are offered and integrated with its clinics.

Due to its failure and refusal to remove access barriers to its Website, Plaintiff Tatum-

Rios and visually-impaired persons have been and are still being denied equal access to

Defendant’s clinics and the numerous facilities, goods, services, and benefits offered to

the public through its Website.

       18.     Plaintiff Tatum-Rios cannot use a computer without the assistance of

screen-reading software. She is, however, a proficient screen-reader user and uses it to

access the Internet. She has visited the Website on separate occasions using screen-

reading software.

       19.     During her visits to the Website, the last occurring on or about September

24 2021, Plaintiff Tatum-Rios encountered multiple access barriers that denied her the

full enjoyment of the facilities, goods, and services of the Website, as well as to the

facilities, goods, and services of Defendant’s online retail operations. Because of these

barriers, she was unable to, substantially equal to sighted individuals:

               a.      Know what is on the Website. This is in part due to the non-text

images lacking alt-text describing them. For example, on the home page, most of the



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images are not detected by the screen reader. These images are labeled as “link graphics,”

and Plaintiff Tatum-Rios is unaware what the images are depicting. Also, on the “laser

hair removal” page, all the images are not detected by the screen reader. Sighted users

can see before and after pictures for Defendant’s laser hair removal treatment, but these

images are inaccessible to Plaintiff Tatum-Rios. Plaintiff Tatum-Rios encountered the

same problems when accessing Defendant’s other skincare treatments.

              b.      Navigate the Website. Plaintiff Tatum-Rios had difficulty

navigating this Website. As mentioned above, links and images are not properly labeled.

For example, most of the headings on the Website are inaccessible to the screen reader

because it is not labeled as “clickable.” Additionally, the frequently asked questions are

not properly labeled as “clickable.” For instance, on the “Laser Hair Removal FAQ,”

Plaintiff Tatum-Rios is unaware if the text is clickable or not. With sighted assistance,

Plaintiff Tatum-Rios was able to learn that the text was clickable and access answers to

frequently asked questions. Also, the “Shop” heading is not detected by the screen reader

and therefore Plaintiff Tatum-Rios cannot access Defendant’s skincare products. When a

sighted user hovers her mouse on “Shop,” a drop-down menu appears that allows the

sighted user to choose which products she would like to purchase. However, Plaintiff

Tatum-Rios tried to search for the “Shop” heading and nothing appeared. Because she

was unable to access the Defendant’s skincare products, Plaintiff Tatum-Rios ultimately

abandoned the process and was unable to purchase Defendant’s skincare products.

       20.    Plaintiff Tatum-Rios was denied full and equal access to the facilities and

services Defendant offers to the public on its Website because she encountered multiple




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accessibility barriers that visually-impaired people often encounter with non-compliant

websites:

                a.    Images are not properly labeled.

                b.    Elements are not properly labeled.

                c.    Forms have fields without label elements or title attributes.

                d.    Links use general text with no surrounding text explaining the link

purpose.

                e.    Frames do not have a title.

                f.    Tables are not properly labeled with row and column headers.

                g.    Button elements are empty and have no programmatically

determined name.

                h.    Form controls have no label and no programmatically determined

name.

                i.    Several links on a page share the same link text but go to different

destinations.

                j.    Webpages have duplicate IDs which cause problems in screen

readers.

                k.    Webpages have markup errors.

                l.    Form field labels are not unique on a page or enclosed in a fieldset

with a legend that makes the label unique.

                m.    Headings are not nested correctly and are empty.

Defendant Must Remove Barriers to Its Website




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       21.     Due to the inaccessibility of its Website, blind and visually-impaired

customers such as Plaintiff Tatum-Rios, who need screen-readers, cannot fully and

equally use or enjoy the facilities, goods, and services Defendant offers to the public on

its Website. The Website’s access barriers that Plaintiff Tatum-Rios encountered have

caused a denial of her full and equal access in the past, and now deter her on a regular

basis from accessing the Website. These access barriers have likewise deterred her from

visiting Defendant’s Website and taking advantage of its online retail operations and

clinics and enjoying them equal to sighted individuals.

       22.     If the Website was equally accessible to all, Plaintiff Tatum-Rios could

independently navigate it, learn about Defendant’s product, get recommendations and

complete a purchase, as sighted users can.

       23.     Through her attempts to use the Website, Plaintiff Tatum-Rios has actual

knowledge of the access barriers that make these services inaccessible and independently

unusable by blind and visually-impaired people.

       24.     Because simple compliance with the WCAG 2.1 Guidelines would

provide Plaintiff Tatum-Rios and other visually-impaired consumers with equal access to

the Website, Plaintiff Tatum-Rios alleges that Defendant has engaged in acts of

intentional discrimination, including, but not limited to, the following policies or

practices:

               a.     Constructing and maintaining a website that is inaccessible to

visually-impaired individuals, including Plaintiff Tatum-Rios;




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                  b.     Failing to construct and maintain a website that is sufficiently

intuitive to be equally accessible to visually-impaired individuals, including Plaintiff

Tatum-Rios; and,

                  c.     Failing to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind and visually impaired consumers, such as

Plaintiff Tatum-Rios, as a member of a protected class.

       25.        Defendant therefore uses standards, criteria or methods of administration

that have the effect of discriminating or perpetuating the discrimination of others, as

alleged herein.

       26.        Title III of the ADA expressly contemplates the injunctive relief that

Plaintiff Tatum-Rios seeks under 42 U.S.C. § 12188(a)(2).

       27.        Because its Website has never been equally accessible, and because

Defendant lacks a corporate policy that is reasonably calculated to cause its Website to

become and remain accessible, Plaintiff Tatum-Rios seeks a permanent injunction under

42 U.S.C. § 12188(a)(2) requiring Defendant to retain a qualified consultant acceptable to

Plaintiff Tatum-Rios to assist Defendant to comply with WCAG 2.1 guidelines for its

Website:

                  a.     Remediating the Website to be WCAG 2.1 compliant;

                  b.     Training Defendant’s employees and agents who develop the

Website on accessibility compliance under the WCAG 2.1 guidelines;

                  c.     Regularly checking the accessibility of the Website under the

WCAG 2.1 guidelines;




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                d.     Regularly testing user accessibility by blind or vision-impaired

persons to ensure that Defendant’s Website complies under the WCAG 2.1 guidelines;

and,

                e.     Developing an accessibility policy that is clearly disclosed on

Defendant’s Website, with contact information for users to report accessibility-related

problems.

          28.   Although Defendant may currently have centralized policies on

maintaining and operating its Website, Defendant lacks a plan and policy reasonably

calculated to make them fully and equally accessible to, and independently usable by,

blind and other visually impaired consumers.

          29.   Without injunctive relief, Plaintiff Tatum-Rios and other visually impaired

consumers will continue to be unable to independently use the Website, violating its

rights.

          30.   Defendant has, upon information and belief, invested substantial sums in

developing and maintaining its Website and has generated significant revenue from the

Website. These amounts are far greater than the associated cost of making its Website

equally accessible to visually impaired customers.

          31.   Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

                            CLASS ACTION ALLEGATIONS

          32.   Plaintiff Tatum-Rios seeks to certify a nationwide class under Fed. R. Civ.

P. 23(a) and 23(b)(2): all legally blind individuals in the United States who have

attempted to access Defendant’s Website and as a result have been denied access to



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Defendant’s Website and its online retail operations during the relevant statutory period

(“Class Members”).

       33.     Plaintiff Tatum-Rios seeks to certify a State of New York subclass under

Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the State of New York

who have attempted to access the Website and as a result have been denied access to

Defendant’s Website and its online retail operations during the relevant statutory period

(“New York Subclass Members”).

       34.     Plaintiff Tatum-Rios seeks to certify a New York City subclass under Fed.

R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the City of New York who

have attempted to access the Website and as a result have been denied access to

Defendant’s Website and its online retail operations during the relevant statutory period

(“New York City Subclass Members”).

       35.     Common questions of law and fact exist amongst the Class Members,

New York Subclass Members and New York City Subclass Members:

               a.     Whether Defendant’s Website and clinics are places of “public

accommodation”;

               b.     Whether Defendant’s Website is a “commercial marketplace”;

               c.     Whether the Website is a “public accommodation” or a service or

good “of a place of public accommodation” under Title III of the ADA;

               d.     Whether the Website is a “place or provider of public

accommodation” or an “accommodation, advantage, facility or privilege” under the

NYSHRL or NYCHRL;




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               e.      Whether the Website denies the full and equal enjoyment of their

goods, services, facilities, privileges, advantages, or accommodations to people with

visual disabilities, violating Title III of the ADA; and

               f.      Whether the Website denies the full and equal enjoyment of their

goods, services, facilities, privileges, advantages, or accommodations to people with

visual disabilities, violating the NYSHRL or NYCHRL.

       36.     Plaintiff Tatum-Rios’ claims are typical of the Class Members, New York

Subclass Members and New York City Subclass Members: they are all severely visually

impaired or otherwise blind, and claim that Defendant has violated Title III of the ADA,

NYSHRL or NYCHRL by failing to update or remove access barriers on its Website so it

can be independently accessible to the visually impaired individuals.

       37.     Plaintiff Tatum-Rios will fairly and adequately represent and protect the

Class and Subclasses’ interests because she has retained and is represented by counsel

competent and experienced in complex class action litigation, and because she has no

interests antagonistic to the Class or Subclasses. Class certification of the claims is

appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act

on grounds generally applicable to the Class and Subclasses, making appropriate both

declaratory and injunctive relief with respect to Plaintiff, the Class and Subclasses.

       38.     Alternatively, class certification is appropriate under Fed. R. Civ. P.

23(b)(3) because fact and legal questions common to Class and Subclass Members

predominate over questions affecting only individuals, and because a class action is

superior to other available methods for the fair and efficient adjudication of this litigation.




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           39.   Judicial economy will be served by maintaining this lawsuit as a class

action in that it is likely to avoid the burden that would be otherwise placed upon the

judicial system by the filing of numerous similar suits by people with visual disabilities

throughout the United States.

                           FIRST CAUSE OF ACTION
                  VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.

           40.   Plaintiff Tatum-Rios, individually and on behalf of the Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth

herein.

           41.   Title III of the ADA prohibits “discriminat[ion] on the basis of disability

in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

or accommodations of any place of public accommodation by any person who owns,

leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. § 12182(a).

           42.   Defendant’s Website and clinics are commercial marketplaces and a

public accommodations under Title III of the ADA, 42 U.S.C. § 12181(7). Its Website is

a service, privilege, or advantage of Defendant’s online retail operations and clinics. The

Website is a service that is integrated with Defendant’s online retail operations and

clinics.

           43.   Under Title III of the ADA, it is unlawful discrimination to deny

individuals with disabilities the opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

12182(b)(1)(A)(i).

           44.   Under Title III of the ADA, it is unlawful discrimination to deny

individuals with disabilities an opportunity to participate in or benefit from the goods,

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services, facilities, privileges, advantages, or accommodation, which is equal to the

opportunities afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

       45.      Under Title III of the ADA, it is unlawful discrimination to deny

individuals with disabilities the opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

12182(b)(1)(A)(i).

       46.      Under Title III of the ADA, unlawful discrimination also includes, among

other things:

       [A] failure to make reasonable modifications in policies, practices, or
       procedures, when such modifications are necessary to afford such goods,
       services, facilities, privileges, advantages, or accommodations to
       individuals with disabilities, unless the entity can demonstrate that making
       such modifications would fundamentally alter the nature of such goods,
       services, facilities, privileges, advantages or accommodations; and a
       failure to take such steps as may be necessary to ensure that no individual
       with a disability is excluded, denied services, segregated or otherwise
       treated differently than other individuals because of the absence of
       auxiliary aids and services, unless the entity can demonstrate that taking
       such steps would fundamentally alter the nature of the good, service,
       facility, privilege, advantage, or accommodation being offered or would
       result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

       47.      These acts violate Title III of the ADA, and the regulations promulgated

thereunder. Plaintiff Tatum-Rios, who is a member of a protected class of persons under

Title III of the ADA, has a physical disability that substantially limits the major life

activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore,

she has been denied full and equal access to the Website, has not been provided services

that are provided to other patrons who are not disabled, and has been provided services

that are inferior to the services provided to non-disabled persons.



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        48.     Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set

forth and incorporated therein, Plaintiff Tatum-Rios requests the relief as set forth below.

                              SECOND CAUSE OF ACTION
                             VIOLATIONS OF THE NYSHRL

        49.     Plaintiff Tatum-Rios, individually and on behalf of the New York

Subclass Members, repeats and realleges every allegation of the preceding paragraphs as

if fully set forth herein.

        50.     Defendant’s Website and clinics are commercial marketplaces and

constitute sales establishments and public accommodations under N.Y. Exec. Law §

292(9). Defendant’s Website is a service, privilege or advantage of Defendant’s online

retail operations and clinics. Defendant’s Website is a service that is by and integrated

with its online retail operations and clinics.

        51.     Defendant is subject to NYSHRL because it owns and operates its

Website and New York City-based clinics. Defendant is a “person” under N.Y. Exec.

Law § 292(1).

        52.     Defendant is violating the NYSHRL in refusing to update or remove

access barriers to its Website, causing its Website and the services integrated with its

online retail operations and clinics to be completely inaccessible to the blind. This

inaccessibility denies blind patrons full and equal access to the facilities, goods and

services that Defendant makes available to the non-disabled public. N.Y. Exec. Law §§

296(2)(a), 296(2)(c)(i), 296(2)(c)(ii).

        53.     Readily available, well-established guidelines exist on the Internet for

making websites accessible to the blind and visually impaired. These guidelines have

been followed by other large business entities and government agencies in making their

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websites accessible, including but not limited to: adding alt-text to graphics and ensuring

that all functions can be performed using a keyboard. Incorporating the basic components

to make its Website accessible would neither fundamentally alter the nature of its

business nor result in an undue burden to them.

       54.     Defendant’s actions constitute willful intentional discrimination against

the class because of a disability, violating the NYSHRL, N.Y. Exec. Law § 296(2), in

that Defendant has:

               a.     Constructed and maintained a website that is inaccessible to Class

Members with knowledge of the discrimination; and/or

               b.     Constructed and maintained a website that is sufficiently intuitive

and/or obvious that is inaccessible to blind class members; and/or

               c.     Failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       55.     Defendant discriminates, and will continue in the future to discriminate

against Plaintiff Tatum-Rios and New York Subclass Members on the basis of disability

in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Defendant’s Website and its New York clinics

and online retail operations under § 296(2) et seq. and/or its implementing regulations.

Unless the Court enjoins Defendant from continuing to engage in these unlawful

practices, Plaintiff and the New York Subclass Members will continue to suffer

irreparable harm.

       56.     As Defendant’s actions violate the NYSHRL, Plaintiff Tatum-Rios seeks

injunctive relief to remedy the discrimination, compensatory damages, civil penalties and



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fines under N.Y. Exec. Law § 297(4)(c) et seq. for every offense, and reasonable

attorneys’ fees and costs.

                               THIRD CAUSE OF ACTION
                             VIOLATIONS OF THE NYCHRL

          57.   Plaintiff Tatum-Rios, individually and on behalf the New York City

Subclass Members, repeats and realleges every allegation of the preceding paragraphs as

if fully set forth herein.

          58.   Defendant’s Website and clinics are commercial marketplaces and

constitute sales establishments and public accommodations under NYCHRL, N.Y.C.

Admin. Code § 8-102(9), and its Website is a service that is integrated with its online

retail operations.

          59.   Defendant is subject to NYCHRL because it owns and operates its

Website and NYC-based clinics, making it a person under N.Y.C. Admin. Code § 8-

102(1).

          60.   Defendant is violating the NYCHRL in refusing to update or remove

access barriers to Website, causing its Website and the services integrated with its online

retail operations to be completely inaccessible to the blind. This inaccessibility denies

blind patrons full and equal access to the facilities, goods, and services that Defendant

makes available to the non-disabled public. N.Y.C. Admin. Code §§ 8-107(4)(a), 8-

107(15)(a).

          61.   Defendant’s actions constitute willful intentional discrimination against

the Subclass because of a disability, violating the NYCHRL, N.Y.C. Admin. Code § 8-

107(4)(a) and § 8-107(15)(a,) in that it has:




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                a.     Constructed and maintained a website that is inaccessible to blind

class members with knowledge of the discrimination; and/or

                b.     Constructed and maintained a website that is sufficiently intuitive

and/or obvious that is inaccessible to blind class members; and/or

                c.     Failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

          62.   As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff Tatum-Rios and the New York City Subclass Members

because of disability in the full and equal enjoyment of the goods, services, facilities,

privileges, advantages, accommodations and/or opportunities of its Website and its

establishments under § 8-107(4)(a) and/or its implementing regulations. Unless the Court

enjoins Defendant from continuing to engage in these unlawful practices, Plaintiff and

the New York City Subclass will continue to suffer irreparable harm.

          63.   As Defendant’s actions violate the NYCHRL, Plaintiff Tatum-Rios seeks

injunctive relief to remedy the discrimination, compensatory damages, civil penalties and

fines for each offense, and reasonable attorneys’ fees and costs. N.Y.C. Admin. Code §§

8-120(8), 8-126(a).

                             FOURTH CAUSE OF ACTION
                               DECLARATORY RELIEF

          64.   Plaintiff Tatum-Rios, individually and on behalf the Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth

herein.

          65.   An actual controversy has arisen and now exists between the parties in that

Plaintiff Tatum-Rios contends, and is informed and believes that Defendant denies, that

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its Website contains access barriers denying blind customers the full and equal access to

the goods, services and facilities of its Website and by extension its clinics and online

retail operations, which Defendant owns, operates and controls, fails to comply with

applicable laws including, but not limited to, Title III of the Americans with Disabilities

Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Admin.

Code § 8-107, et seq. prohibiting discrimination against the blind.

       66.     A judicial declaration is necessary and appropriate now in order that each

of the parties may know its respective rights and duties and act accordingly.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Tatum-Rios respectfully requests this Court grant the

following relief:

               a.     A preliminary and permanent injunction to prohibit Defendant

from violating Title III of the ADA, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296,

et seq., N.Y.C. Admin. Code § 8-107, et seq., and the laws of New York;

               b.     A preliminary and permanent injunction requiring Defendant to

take all the steps necessary to make its Website into full compliance with the

requirements set forth in Title III of the ADA, and its implementing regulations, so that

the Website is readily accessible to and usable by blind individuals;

               c.     A declaration that Defendant owns, maintains and/or operates the

Website in a manner that discriminates against the blind and which fails to provide access

for persons with disabilities as required by ADA, 42 U.S.C. §§ 12182, et seq., N.Y. Exec.

Law § 296, et seq., N.Y.C. Admin. Code § 8-107, et seq., and the laws of New York




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               d.      An order certifying the Class and Subclasses under Fed. R. Civ. P.

23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and her

attorneys as Class Counsel;

               e.      Compensatory damages in an amount to be determined by proof,

including all applicable statutory damages, punitive damages and fines;

               f.      Pre- and post-judgment interest;

               g.      An award of costs and expenses of this action together with

reasonable attorneys’ and expert fees; and

               h.      Such other and further relief as this Court deems just and proper.

                            DEMAND FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff Tatum-Rios demands a trial by jury on

all questions of fact the Complaint raises.

Dated: New York, New York
       October 22, 2021

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